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United States Department of Justice

United States Attorney
Southern District of West Virginia

Robert C. Byrd United States Courthouse 1-800-659-8726
300 Virginia Street, East 304-345-2200
Suite 4000 FAX: 304-347-5104

Charleston, WV 25301

February 5, 2025 FILED

Gordon Mowen, Esq. MAR | 2 2025

Orndorff Mowen PLLC SRV \ =

. RORY L PERAV, CLEA
135 Corporate Center Drive, Suite 524 Sauna Date Ves Vigila
Scott Depot, West Virginia 25560

Re: United States v. Theodore Miller
Criminal No. 2:24-cr-00145 (USDC SDWV)

Dear Mr. Mowen:

This will confirm our conversations with regard to your
client, Theodore Miller (hereinafter “Mr. Miller”). As a result

of these conversations, it is agreed by and between the United
States and Mr. Miller as follows:

1. PENDING CHARGES. Mr. Miller is charged in a fifteen-
count indictment as follows:

(a) Counts One through Twelve charge Mr. Miller with
violations of 18 U.S.C. § 1343 (wire fraud);

(b) Count Thirteen charges Mr. Miller with a violation of 18
U.S.C. § 1957 and § 2 (causing transactional money
laundering); and

(c) Counts Fourteen and Fifteen charge Mr. Miller with
violations of 18 U.S.C. § 1512(b) (2) (B) (obstruction of

justice - corruptly persuading another to destroy
evidence).
2. RESOLUTION OF CHARGES. Mr. Miller will plead guilty to

Counts One and Twelve of said indictment, which charge him with
violations of 18 U.S.c. § 1343. Following final disposition, the

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United States will move the Court to dismiss Counts Two through
Eleven and Thirteen through Fifteen in Criminal No. 2:24-cr-00145
as to Mr. Miller.

By MAXIMUM POTENTIAL PENALTY. The maximum penalty to which
Mr. Miller will be exposed by virtue of this guilty plea is as
follows:

COUNTS ONE AND TWELVE

(a) Imprisonment for a period of 20 years;

(ob) A fine of $250,000, or twice the gross pecuniary gain or
twice the gross pecuniary loss resulting from
defendant’s conduct, whichever is greater;

(c) A term of supervised release of 3 years;

(d) A mandatory special assessment of $100 pursuant to 18
U.S.C. § 3013; and

(e) An order of restitution pursuant to 18 U.S.C. §§ 3663
and 3664, or as otherwise set forth in this plea

agreement.

TOTAL COMBINED MAXIMUM PENALTY

(a) Imprisonment for a period of 40 years;

(b) A fine of $500,000, or twice the gross pecuniary gain or
twice the gross pecuniary loss resulting from
defendant’s conduct, whichever is greater;

(c) A term of supervised release of 3 years;

(d) A mandatory special assessment of $200 pursuant to 18
U.S.C. § 3013; and

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(e) An order of restitution pursuant to 18 U.S.C. §§ 3663
and 3664, or as otherwise set forth in this plea
agreement.

4, TERMINATION OF PROSECUTION. The conviction and final
disposition of Mr. Miller pursuant to this plea agreement will
conclude the investigation. and prosecution of Maytee Fatima
Condezo Marcos by the United States in the Southern District of
West Virginia for (a) her actual and attempted obstruction of
justice arising out of or relating to the obstruction charge as
set forth in the Indictment, in the Southern District of West
Virginia and elsewhere, and (b) any and all conduct related to Mr.
Miller’s fraudulent schemes, as described in “Plea Agreement
Exhibit A,” between January 2021 and the date of this Agreement.

Si SPECIAL ASSESSMENT. Prior to the entry of a plea
pursuant to this plea agreement, Mr. Miller will tender a check or
money order to the Clerk of the United States District Court for
$200, which check or money order shall indicate on its face the
name of defendant and the case number. The sum received by the
Clerk will be applied toward the special assessment imposed by the
Court at sentencing. Mr. Miller will obtain a receipt of payment
from the Clerk and will tender a copy of such receipt to the United
States, to be filed with the Court as an attachment to this plea
agreement. If Mr. Miller fails to provide proof of payment of the
special assessment prior to or at the plea proceeding, the United
States will have the right to void this plea agreement. In the
event this plea agreement becomes void after payment of the special
assessment, such sum shall be promptly returned to Mr. Miller.

G's RESTITUTION. Notwithstanding the offense of conviction,
Mr. Miller agrees that he owes restitution in the amount of between
$395,000 and $434,501.42 to any and all victims and agrees to pay
such restitution, with interest as allowed by law, to the fullest
extent financially feasible. In aid of restitution, Mr. Miller
further agrees as follows:

(a) Mr. Miller agrees to fully assist the United States in

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identifying and locating any assets to be applied toward
restitution and to give signed, sworn statements and
testimony concerning assets upon request of the United
states.

Mr. Miller will fully complete and execute, under oath,
a Financial Statement and a Release of Financial
Information on forms supplied by the United States and
will return these completed forms to counsel for the
United States within seven calendar days from the date
of the signing of this plea agreement.

Mr. Miller agrees not to dispose of, transfer or
otherwise encumber any real or personal property which
he currently owns or in which he holds an interest.

Mr. Miller agrees to fully cooperate with the United
States in the liquidation of assets to be applied towards
restitution, to execute any and all documents necessary
to transfer title of any assets available to satisfy
restitution, to release any and all right, title and
interest he may have in and to such property, and waives
his right to exemptions under the Federal. Debt
Collection Procedures Act upon levy against and the sale
of any such property.

Mr. Miller agrees not to appeal any order of the District
Court imposing restitution unless the amount of
restitution imposed exceeds the amount set forth in this
plea agreement. However, nothing in this provision is
intended to preclude the Court from ordering Mr. Miller
to pay a greater or lesser sum of restitution in
accordance with law.

FORFEITURE. Mr. Miller hereby agrees as follows:

To forfeit to the United States any and all property in
Mr. Miller’s possession or under his control which

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constitutes proceeds of, or was derived from proceeds,
or was involved in the offense to which Mr. Miller is
agreeing to plead guilty, and is set forth in this
indictment, namely the violation of 18 U.S.C. § 1343.
Mr. Miller further agrees that he will not contest a
forfeiture money judgment in the amount up to
$434,501.42, which amount constitutes a portion of the
proceeds of the violations set forth in the indictment.

(b) To assist the United States and its agents in identifying
all such property, regardless of its location and the
manner in which it is titled. Any such identified
property deemed forfeitable by the United States will
then be forfeited, pursuant to 18 U.S.C. §§ 981, 982 or
28 U.S.C. § 2461, in either an administrative or judicial
forfeiture action;

(c) To fully complete and execute, under oath, a Financial
Affidavit in a form supplied by the United States and to
return to counsel for the United States the completed
Affidavit within seven calendar days from the date of
signing this plea agreement;

(d) To provide sworn testimony and to execute any documents
deemed necessary by the United States to effectuate the
forfeiture and to transfer title to the said property to
the United States; and

(e) To waive any defenses to this criminal action, or to any
related administrative or judicial forfeiture action,
based in whole or in part on the Excessive Fines Clause
of the Eighth Amendment to the Constitution, or the
holding or principles set forth in United States v.
Alexander, 509 U.S. 544 (1993); United States v.
Bajakajian, 524 U.S. 321 (1998); United States v.
Austin, 509 U.S. 602 (1993); and their progeny.

8. PAYMENT OF MONETARY PENALTIES. Mr. Miller authorizes the

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Financial Litigation Program in the United States Attorney's
Office to obtain a credit report from any major credit reporting
agency prior to sentencing in order to assess his financial
condition for sentencing purposes. Mr. Miller agrees not to
object to the District Court ordering all monetary penalties
(including the special assessment, fine, court costs, and any
restitution that does not exceed the amount set forth in this plea
agreement) to be due and payable in full immediately and subject
to immediate enforcement by the United States. So long as the
monetary penalties are ordered to be due and payable in full
immediately, Mr. Miller further agrees not to object to the
District Court imposing any schedule of payments as merely a
minimum schedule of payments and not the only method, nor a
limitation on the methods, available to the United States to
enforce the judgment.

Mr. Miller authorizes the United States, through the
Financial Litigation Program, to submit any unpaid criminal
monetary penalty to the United States Treasury for offset in
accordance with the Treasury Offset Program, regardless of the
defendant’s payment status or history at that time.

In addition to any payment ordered by the Court, Mr. Miller
shall pay all monies received from any source other than earned
income, including but not limited to, lottery winnings, gambling
proceeds, judgments, inheritances, and tax refunds, toward the
court ordered restitution or fine.

Mr. Miller agrees that if he retains counsel or has appointed
counsel in response to the United States’ efforts to collect any
monetary penalty, he shall immediately notify the United States
Attorney’s Office, Attention: Financial Litigation Program, 300
Virginia Street E., Suite 4000, Charleston, West Virginia 25301,
in writing and shall instruct’ his attorney to notify FLP
immediately of his representation.

9. COOPERATION. Mr. Miller will be forthright and truthful
with this office and other law enforcement agencies with regard to

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all inquiries made pursuant to this agreement, and will give
signed, sworn statements and grand jury and trial testimony upon

request of the United States. In complying with this provision,
Mr. Miller may have counsel present except when appearing before
a grand jury. Further, Mr. Miller agrees to be named as an

unindicted co-conspirator and unindicted aider and abettor, as
appropriate, in subsequent indictments or informations.

10. USE IMMUNITY. Unless this agreement becomes void due
to a violation of any of its terms by Mr. Miller, and except as
expressly provided for in paragraph 12 below, nothing contained in
any statement or testimony provided by him pursuant to this
agreement, or any evidence developed therefrom, will be used
against him, directly or indirectly, in any further criminal
prosecutions or in determining the applicable guideline range
under the Federal Sentencing Guidelines.

11. LIMITATIONS ON IMMUNITY. Nothing contained in this
agreement restricts the use of information obtained by the United
States from an independent, legitimate source, separate and apart
from any information and testimony provided pursuant to this
agreement, in determining the applicable guideline range or in
prosecuting Mr. Miller for any violations of federal or state laws.
The United States reserves the right to prosecute Mr. Miller for
perjury or false statement if such a situation should occur
pursuant to this agreement.

12. STIPULATION OF FACTS AND WAIVER OF FED. R. EVID. 410.
The United States and Mr. Miller stipulate and agree that the facts
comprising the offense of conviction and some but not all relevant
conduct include the facts outlined in the “Stipulation of Facts,”
a copy of which is attached hereto as “Plea Agreement Exhibit A.”

Mr. Miller agrees that if he withdraws from this agreement,
or this agreement is voided as a result of a breach of its terms
by him, and he is subsequently tried for his conduct alleged in
the indictment and other relevant conduct, as more.specifically
described in the Stipulation of Facts, the United States may use

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and introduce the Stipulation of Facts in the United States case-
in-chief, in cross-examination of Mr. Miller or of any of his
witnesses, or in rebuttal of any testimony introduced by him or on
his behalf. Mr. Miller knowingly and voluntarily waives, see United
states v. Mezzanatto, 513 U.S. 196 (1995), any right he has
pursuant to Fed. R. Evid. 410 that would prohibit such use of the
Stipulation of Facts. If the Court does not accept the plea
agreement through no fault of the defendant, or the Court declares
the agreement void due to a breach of its terms by the United
States, the Stipulation of Facts cannot be used by the United
states.

The United States and Mr. Miller understand and acknowledge
that the Court is not bound by the Stipulation of Facts and that
if some or all of the Stipulation of Facts is not accepted by the
Court, the parties will not have the right to withdraw from the
plea agreement.

13. RULE 11(c) (1) (C) AGREEMENT. Pursuant to Rule 11(c) (1) (Cc)
of the Federal Rules of Criminal Procedure, the United States and
Mr. Miller agree that a sentence of imprisonment of between 80
months and 84 months is the appropriate disposition of this case.
Mr. Miller understands that this agreement pursuant to the Fed. R.
Crim. P. 11(c)(1)(C) is not binding on the District Court unless
and until the District Court accepts this plea agreement. If the
Court refuses to accept this plea agreement, Mr. Miller has the
right to void this agreement and may withdraw his guilty plea.

14. AGREEMENT ON SENTENCING GUIDELINES. Based on the
foregoing Stipulation of Facts, the United States and Mr. Miller
agree that the following provisions of the United States Sentencing
Guidelines apply to this case.

Base Offense Level 2Bl.1(a) (1) a
Loss totaling more than $250,000 2B1.1(b) (1) (G) +12
More than 10 victims & mass- 2B1.1(b) (2) (A) +2
marketing

Violation of any prior, specific 2B1.1(b) (9) (C) +2

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judicial or administrative order,
injunction, decree, or process
Substantial portion of offense 2B1.1(b) (10) (B)-(C) | +2
committed outside the United States
& sophisticated means

Abuse of Position of Trust 3B1.3 +2
Obstruction of Justice 3C1.1 +2
Leadership Role 3B1.1(c) +2
TOTAL 31

The United States and Mr. Miller acknowledge and understand
that the Court and the Probation Office are not bound by the
parties’ calculation of the United States Sentencing Guidelines
set forth above and that the parties shall not have the right to
withdraw from the plea agreement due to a disagreement with the
Court’s calculation of the appropriate guideline range.

15. WAIVER OF APPEAL AND COLLATERAL ATTACK. Mr. Miller
knowingly and voluntarily waives his right to seek appellate review
of his conviction and of any sentence of imprisonment, fine, or
term of supervised release imposed by the District Court, or the
manner in which the sentence was determined, on any ground
whatsoever including any ground set forth in 18 U.S.C. § 3742(a),
except that the defendant may appeal any sentence that exceeds the
maximum penalty prescribed by statute. Mr. Miller also knowingly
and voluntarily waives any right to seek appellate review of any
claim or argument that (1) the statute of conviction 18 U.S.C. §
1343 is unconstitutional, and (2) Mr. Miller conduct set forth in
the Stipulation of Facts (Plea Agreement Exhibit A) does not fall
within the scope of the 18 U.S.C. § 1343.

The United States also agrees to waive its right to appeal
any sentence of imprisonment, fine, or term of supervised release
imposed by the District Court, or the manner in which the sentence
was determined, on any ground whatsoever, including any ground set
forth in 18 U.S.C. § 3742(b), except that the United States may
appeal any sentence that is below the minimum penalty, if any,
prescribed by statute.

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Mr. Miller also knowingly and voluntarily waives the right to
challenge his guilty plea and conviction resulting from this plea
agreement, and any sentence imposed for the conviction, in any
collateral attack, including but not limited to a motion brought
under 28 U.S.C. § 2255.

The waivers noted above shall not apply to a post-conviction
collateral attack or direct appeal based on a claim of ineffective
assistance of counsel.

16. WAIVER OF FOIA AND PRIVACY RIGHT. Mr. Miller knowingly
and voluntarily waives all rights, whether asserted directly or by
a representative, to request or receive from any department or
agency of the United States any records pertaining to the
investigation or prosecution of this case, including without any
limitation any records that may be sought under the Freedom of
Information Act (FOIA), 5 U.S.C. § 552, or the Privacy Act of 1974,
5 U.S.C. § 552a, following final disposition.

17. FINAL DISPOSITION. The matter of sentencing is within
the sole discretion of the Court. The United States has made no
representations or promises as to a specific sentence. The United

States reserves the right to: 3

(a) Inform the Probation Office and the Gourt of all relevant
facts and conduct; pen :
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(b) Present evidence and argument relevant to the factors
enumerated dan 18 U.S.C. § 3553(a);

(c) Respond to questions raised by the Court;

(d) Correct inaccuracies or inadequacies in the presentence
report;

(e) Respond to statements made to the Court by or on behalf
of Mr. Miller;

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(f£) Advise the Court concerning the nature and extent of Mr.
Miller's cooperation; and

(g) Address the Court regarding the issue of Mr. Miller'‘s
acceptance of responsibility.

18. VOIDING OF AGREEMENT. If either the United States or
Mr. Miller violates the terms of this agreement, the other party
will have the right to void this agreement. If the Court refuses
to accept this agreement, it shall be void.

19. ENTIRETY OF AGREEMENT . This written agreement
constitutes the entire agreement between the United States and Mr.
Miller in this matter. There are no agreements, understandings

or recommendations as to any other pending or future charges
against Mr.’ Miller in any Court other than the United States
District Court for the Southern District of West Virginia.

Acknowledged and agreed to on behalf of the United States:

WILLIAM S. THOMPSON
United States Attorney

By:

t United States Attorney

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I hereby acknowledge by my initials at the bottom of each of the
foregoing pages and by my signature on the last page of this
twelve-page agreement that I have read and carefully discussed
every part of it with my attorney, that I understand the terms of
this agreement, and that I voluntarily agree to those terms and
conditions set forth in the agreement. I further acknowledge that
my attorney has advised me of my rights, possible defenses, the
Sentencing Guideline provisions, and the consequences of entering
into this agreement, that no promises or inducements have been
made to me other than those in this agreement, and that no one has
threatened me or forced me in any way to enter into this agreement.
Finally, I am satisfied with the representation of my attorney in
this matter.

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Theodore Miller Date Signed

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF WEST VIRGINIA
CHARLESTON

UNITED STATES OF AMBRICA

Vv. CRIMINAL NO. 2:24-cr—-00145

THEODORE MILLER

STIPULATION OF FACTS

The United States and THEODORE MILLER {hereinafter
“defendant,” “I,” and “My”) stipulate and agree that the facts
comprising the offenses of conviction, Counts Two and Twelve in
the Indictment in the Southern District of West Virginia, Criminal
No. 2:24-cr-00145, and some but not all of the relevant conduct
for those offenses, include the following:

Background

As far back as 2014, I began forming and operating several
businesses in West Virginia, including but not limited to Bear
Industries LLC (“Bear Industries”), a real estate investment
company; Prestige Worldwide Real Estate, a real estate company;
T&C Construction Services LLC (“Té&C Construction”), a construction
company; Stark Industries, a real estate holding company; McLovin
Enterprises LLC, a restaurant and bar d/b/a The Sorority; and
Homeless Savior Foundation, a 50l(c)(3) non-profit to help
homeless individuals (together, «the “Bear Entities”). With the
exception of Stark Industries, the Bear Entities are solely owned
and operated -by me.

My mother, Deanna Drumm, served as the Vice President of Bear
Industries from in or around 2019 to September 2024. I oversaw and
directed her work, which included the management of finances.

I have been a permanent resident of West Virginia since at
least 2019, though I lived and traveled abroad between June 2021
and August 2024,

PLEA AGREEMENT EXHIBIT A
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My personal bank account and the Bear Entities’ bank accounts
are and have been held at Fiftn Third Bancorp at all relevant
times. Fifth Third Bancorp is a financial institution as defined
by 18 U.S.C. § 20 and a financial institution which engaged in and
the activities of which affected interstate commerce as defined in
31 0U.5.C. § 5312.

2020-2021: The Bakery Building and Financial Strain

In October 2020, I entered into a “Land Contract” for a large
industrial building at 1007 Bigley Avenue, Charleston, Kanawha
County, West Virginia (the “Bakery Building”) and an empty lot
at 1015 Bigley Avenue, Charleston, Kanawha County, West Virginia.
Tne agreement provided that title would not transfer to me until
the entire purchase price of $600,000 was paid. I was required to
pay $5,226.64 per month, which would be credited towards the total
purchase price. Almost immediately after the agreement was
executed, the Bakery Building became a financial problem for me.
The roof needed significant repairs, which I could not afford. My
efforts to secure alternative sources of funding for the Bakery
Building in 2021 were unsuccessful.

In or around June 2021, I began living abroad. As a result,
I ran my West Virginia businesses remotely from outside the United
states. I managed the Bear Entities’ finances through my mother,
who was present in West Virginia. I would regulariy tell her what
bills to pay, how and where to move money, and what tasks to
complete. I and my mother both had access to all bank accounts for
the Bear Entities including an account ending in 5311 in the name
of Bear Industries, an account ending in 5162 in the name of
Prestige Worldwide Real Estate, and an account ending in 5154 in
the name of T&C Construction. I also had access to a Paypal account
that was linked to the T&C Construction bank account ending in
5154.

In October 29021, I conceived of an investment program that I
would offer to the public directly through social media. That
conceptualized investment program, which was at the time unnamed
but that IF later dubbed “Bear Lute,” contemplated obtaining
investments from average people, depositing the funds into a 6%
interest bearing account, moving the investments from the account
to real estate projects, sharing in the profits with investors,
and securing the investments with real estate. The concept

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explicitly contemplated that investors would be able to withdraw
their funds within sixty days of making a request.

Around this same time, my financial status continued to
worsen. This was caused, in part, by the condition of the Bakery
Building. For example, on October 18, 2021, the Charleston Fire
Department temporarily shut down the Bakery Building for life
safety issues.

2022-2024: Bear Lute and Direct Investment Projects

In February 2022, I conceived of another new venture:
acquiring and developing property adjacent to the Bakery Building
along Bigley Avenue in Charleston, West Virginia. Because I was
living abroad at the time, I negotiated with the owner of those
properties around this timeframe through my mother.

Specifically, I imagined that the venture would include two
projects. First, the residences located at 915 and 917 Bigley
Avenue Charleston, Kanawha County, West Virginia would be
developed into modern duplexes. Second, a dry-storage lot would be
constructed and rented out at 1019 Bigley Avenue and superficial
upgrades would be made to the residence at 1021 Bigley Avenue.

I made efforts to obtain traditional financing for these
projects in early 2022, but I was unsuccessful. As a result, I
advertised the projects to individual investors via email using
the internet beginning in or around May of 2022 as “direct
investments.”

Separately, on May 26, 2022, I formally launched “Bear Lute,”
the investment program conceptualized in October 2021,

On May 31, 2022, I entered into a “Land Contract” for 915 and
917 Bigley Avenue, Charleston, Kanawha County, West Virginia. T&C
Construction was listed as the “purchaser.” The agreement provided
that title would not transfer until the entire purchase price of
980,000 was paid. I was required to pay $1,000 per month toward
the purchase price. My mother signed the agreement on my behaif.

Between May and June of 2022, my financial situation worsened
significantly. My mortgages and car payments fell into
delinguency, the water was shut off at the Bakery Building for

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non-payment, and financial institutions denied loans to me, due in
part to my poor credit.

Investors began investing in both “Bear Lute” and the “direct
investment” projects in or around June 2022,

On July 27, 2022, I entered into another “Land Contract” for
1019 and 1021 Bigiey Avenue, Charleston, Kanawha County, West
Virginia. The agreement provided that title would not transfer to
T&C Construction untii the entire purchase price of $60,000 was
paid. I was required to pay $539 per month, which would be credited
towards the total purchase price. My mother signed the agreement
on my behalf.

Direct Investments

I told investors for the dry-storage lot project, J.€. and
C.T., that a secure lot would be constructed at “1017” and 1019
Bigley Avenue and that minor upgrades would be performed on the
home at 1021 Bigley Avenue. Once the construction was complete, I
would return investors’ initial investment, plus a percentage of
a cash out refinance. Thereafter, I would rent out the lot spaces
and the house, and I and the investors would share in the rental
income. I led the investors to believe that this investment was
safe.

I told investors for the duplex project, J.C., B.W., and A.G.,
that tne homes at 915 and 917 Bigley Avenue would be developed
into modern duplexes, refinanced, and rented out. Like the dry-
storage lot project, once the remodels were complete, I would
return investors’ initial investment, plus a percentage of a cash
out refinance. Thereafter, I would rent out the duplexes, and I
and the investors would share in the rental income. I led investors
to believe that this investment was safe.

IT had investors for both projects sign two documents via
Docusign to invest in the direct investment projects: an “Investor
Agreement” and a “Partnership Agreement.” The Investor Agreements
were promissory notes, under which I promised to repay the investor
within a specific time period and promised to use the investment
funds for the projects only. I gave the investor a security
interest in the project property—although I never possessed legal
title to any of these project properties, and therefore could not

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have granted any investor a valid security interest in any of the
properties. The Partnership Agreements entitled the investors to
a portion of future rental income. I directed my mother to keep
track of all of the Investor Agreements and Partnership Agreements.

The table below summarizes the direct investments I obtained:

Victim Date (s) Project Total Amount
(approx. ) of Investment

J.C. 7/19/2022- Dry-Storage Lot $49,000
7/20/2022

J.C. 7/14/2022 915 Bigley Avenue Duplex | $20,000

C.T. 7/5/2022 Dry-Storage Lot $20,000

B.W. 9/8/2022 917 Bigley Avenue Duplex | $10,000

A.G. 10/6/2022 917 Bigley Avenue Duplex | $5,000

TOTAL 595,000

The investors wired me their money. The wires were deposited
into one or more of the Bear Entities’ accounts, and thereafter,
my mother, at my direction, comingled the investments with the
funds of other Bear Entities. From these comingled accounts, and
at my direction, my mother paid the Bear Entities’ financial
obligations, and transferred funds to herself and to me. This
included a $20,000 transfer on July 20, 2022, from Bear Industries’
account ending in 5311 to T&C Construction’s account ending in
5154. I did not have the investments specifically applied toward
completing the dry-storage lot project or the duplex project.
Indeed, the projects were never even started in earnest. The lot
at 1019 Bigley Avenue remains vegetated. Further, 1017 Bigley
Avenue is net a valid address. I knew that these projects were not
being completed.

When the investors began inquiring about the status of the
projects and when they would receive their return, I lied and said
the projects were under way or completed. Ultimately, I stopped
responding to the investors. I never paid any of them back.

In the Spring of 2023, I defaulted on the monthly lease
payments for the Bigley Avenue properties (915, 917, 1007, 1015,
1019, and 1021) and lost possession of them entirely.

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Bear Lute

As stated, I launched Bear Lute in May of 2022. Bear Lute was
a pooled real estate investment vehicle, promoted and run by me
primarily through bearlute.com. I used my social media platform to
direct investors to the website to learn about the program and to
sign up. On my social media, I presented myself as a wealthy,
successful, and knowledgeable real estate mogul to gain the trust
of my followers.

Between May 2022 and September 2024, I controlled the content
on bearlute.com. I Trade numerous misrepresentations on
bearlute.com that were designed to make me seem wealthy and to
make Bear Industries seem like a large and successful real estate
development company.

I also represented on bearlute.com that the investment
program functioned in five steps. First, investors would sign up
to make either a reoccurring or one-time deposit in Bear Lute.
Second, all investor funds would be pooled into one conglomerate
account. Third, investor funds would be deployed for various real
estate projects. Fourth, once the projects were complete, the
property would be refinanced, and those funds would be added back
to the conglomerate account. Fifth, investors would be given
quarterly distributions.

I told investors on bearlute.com that they could expect
consistent, standard returns with a minimum return on investment
of 6%, that they could withdraw their investment within sixty days
of a withdraw request, and that their investment was “safe and
secure” because it was backed with real property. ,

On my social media, I indicated to investors that they could
make in excess of 20% return with Bear Lute, risk free. For
example, I stated the following in a TikTok video:

My company pays some pretty good fucking
profits to its investors. Actually, at
bearlute.com, we have historical rates of over
20%, and even though we have different levels
ot investment (bronze, silver, gold, and fuck
it, let’s go), no matter how much money you
put in, as long as we keep down the path that

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we have for several fucking years, your ROI
will be in excess of 20 fucking percent.
Because we pay in two different forms. The
first one is 6% interest no matter what. You
are loaning money to my company, so my company
is gonna fucking pay you 6%. The second is
quarterly gifts. If my company’s doing good,
you're doing good. Every quarter that you have
money in the fucking account, you get a
fucking distribution. And since it’s based on
the percentage of money in your account, the
more money in your account, the more fucking
money you make. If you wanna check it out,
visit! bearlute.com or click the link in my
bio. .. . You can get started for as little
as a hundred fucking bucks. See what fucking
happens all the way up to a million fucking
dollars. As long as you remember that golden
rule that you can’t make money if you're a
fucking pussy.

To sign up for Bear Lute, I had investors sign an “Investor
Agreement.” The Investor Agreement provided that funds would be
returned within 60 days of a request for withdraw, that the
investments were to be used exclusively for real estate
transactions, and that the investment was secured by an interest
in the Bakery Building (1007 Bigey Ave.) and personally guaranteed
by me.

After an individual invested in Bear Lute, I gave the investor
access to an online dashboard where the investor could. track his
or her initial investment, make additional deposits, make withdraw
requests, and watch his or her investment “grow” on a graph. I
created the graphs with Microsoft Excel using figures I made up.
I did not base the graphs on real financial data.

Between 2022 and 2024, I had my mother use Paypal to process
investors’ Bear Lute deposits. I also directed my mother to keep
track of investors in excel spreadsheets. I also used the Stripe
payment processor for some of this time period.

Ali of the representations about Bear Lute mentioned above
were false.

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Ll. Bear Industries was not a large and successful real estate
development company. The Bear Entities were all financially
struggling, and the real estate portfolio was much smaller
than had been represented to investors. Bear Industries did
not have any employees outside of me and my mother. I
impersonated a “Nancy Smith” to communicate with investors in
order to lend credibility to me and my businesses.

2. I did not pool the Bear Lute investments into a conglomerate,
interest bearing account and deploy the funds on new real
estate projects in the manner advertised to investors.
Rather, I used the money as it came in to pay unrelated
expenses, debts, and obligations. I directed my mom regarding
which obligations to pay, and in what order.

3.1 did not return investor funds within sixty days of a
withdraw request. I ignored investors when they made
requests. Only one investor, J.I., received a fraction of his
investment back from Bear Lute.

4. The Bear Lute investments were not safe and secure. Most
notably, the funds were not being invested at all-just spent.
But also, I never possessed legal title to the Bakery
Building, which I used to “secure” the investments. And, I
continued to pledge the Bakery Building as security in
Investor Agreements even after I had lost possession of that
property.

5. Investors were never earning any interest on their
investment. There was no conglomerate account. There was no
6% return, or any return whatsoever. There were no property
refinances that would have generated any return.

In September 2022, the West Virginia Securities Commission
issued Bear Industries a cease-and-desist letter ordering it to
stop the unregistered sale and offering of securities through Bear
Lute. I was on notice at this time that the continued solicitation
and acceptance of investments via Bear Lute after this time would
violate the West Virginia Securities Commission’s letter.
Nevertheless, I continued to operate Bear Lute. I did not formally
respond to the letter, but I did post on my social media stating,
in part:

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[You’re] wondering why I calli the quarterly
distributions gifts? This is for a few
reasons. One in particular is so that I am not
regulated by the SEC, You may think that is a
bad fucking idea. Not at all. Actually, if you
know anything about big government, they get
super upset if they can’t have a fucking piece
of the pie. . .. Yes, Bear Lute is 100% legal.

In November 2022, the West Virginia Securities Commission
issued a final cease-and-desist order, again ordering me to stop
the unregistered sale and offering of securities through Bear Lute.
I received this order, and I responded to the order after it became
final. I continued to operate Bear Lute in violation of the order.
I never disclosed the order to my investors.

I defrauded more than 170 investors through Bear Lute, most
of whom were located outside of the state of West Virginia. Bear
Industries obtained more than $300,000 from Bear Lute investors.
between May of 2022 and September 2024.

specifically, B.W. and E.S. are two of the Bear Lute investors
who I defrauded. They sent the following interstate wire
transmissions to me as follows:

DATE (on or | INTERSTATE FROM | TO
about) TRANSMISSION
October 13, $2,500 transfer Texas | Charleston, West Virginia
2022 from E.S. using
Paypal

October 14, $2,500 transfer Texas | Charleston, West Virginia
2022 from E.S. using

Paypal
August 15, $2,500 transfer Texas | Charleston, West Virginia
2022 from B.W. using

Paypal
September $2,500 transfer Texas | Charleston, West Virginia
15, 2022 from B.W. using

Paypal
October 13, $2,500 transfer Texas | Charleston, West Virginia
2022 from B.W. using

Paypal
November 20, | 52,500 transfer Texas | Charleston, West Virginia

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2022 from B.W. using
Paypal
December 12, | $2,500 transfer Texas | Charleston, West Virginia
2022 from B.W. using
Paypal

Both B.W. and E.S. relied on the false representations I made
on bearlute.com and on the false promises I made in their Investor
Agreements. I also communicated with B.W. and E.S. as “Nancy
Smith.” When B.W. and E.S. made withdraw requests, I ignored them.

August 2024: PostArrest Obstructive Conduct

Law enforcement arrested me on August 9, 2024. On Sunday,
August 11, 2024, at or around 10:26am, I had the following exchange
with my wife, F.c., during a recorded phone call:

P.C.: He [law enforcement agent] get, he got
his ass inside of the house, and got your phone
and your shoes.

DEFENDANT: You know, I’m tempted to say that
you guys should just report it stolen, on
Apple, and at least lock it.

F.C.: Huh uh honey, trust me, I was trying to
do that, but I don’t know your damn password.
It's okay.

DEFENDANT: Okay, we are being recorded right
now, So

F.C.: I know. I know.
DEFENDANT: Look in my backpack.

F.,C.: Yeah, yeah, yeah, I got it. Yeah, I got
it. IT know what to do,

DEFENDANT: Okay, and then after that, make
sure that that is, umm, not accessible. Okay?

F.C.: Mmm uh [affirmative].

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DEFENDANT: By anybody else,
F.C.: Uhh huh [affirmative].

DEFENDANT: Okay, now you’ve got the answer you
needed, ha ha. ,

Decoded, I was telling my wife to get my iPhone password from.
my Acer laptop computer, which was inside my backpack; to use the
password to report the iPhone stolen to make it inaccessible to
law enforcement; and then, to hide the computer and backpack. It
was particularly important to hide the computer, because it
contained most of the documents related to Bear Lute and the direct
investments.

On August 11, 2024, at or around 9:00pm, F.C. told me that
she had made the backpack and the computer “safe.”

Total Loss

I caused a loss to investors in a total amount of between
$395,000 and $434,501.42. Of this total amount, $95,000 of the
loss is associated with direct investments, consistent with the
table included above. The remainder is associated with Bear Lute.

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KkK*

This Stipulation of Facts does not contain each and every
fact known to defendant and to the United States concerning his
involvement and the involvement of others in the charges set forth
in the Indictment.

Stipulated and agreed to:
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THEODORE MILLER Date
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HOLLY J(/WYZSoON Date
Assistant United States Attorney

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